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                  POLOZOLA DECLARATION
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           POLITICS        POLICY


           Trump Prepares for Legal Fight Over
           His ‘Birthright Citizenship’ Curbs
           Many constitutional scholars and civil-rights groups have said a change
           can’t be done through executive action

           By Tarini Parti Follow and Michelle Hackman Follow
           Updated Dec. 8, 2024 9:16 pm ET




           People riding the ferry to Ellis Island for a naturalization ceremony pass the Statue of Liberty. PHOTO:
           ALEX KENT/AFP/GETTY IMAGES


           WASHINGTON—President-elect Donald Trump’s transition team is drafting
           several versions of his long-promised executive order to curtail automatic
           citizenship for anyone born in the U.S., according to people familiar with the
           matter, as his aides prepare for an expanded legal fight.
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Trump, who has railed against so-called birthright citizenship for years, said
during his first term that he was planning an executive order that would outright
ban it. Such an order was never signed, but the issue remained a focus of
Trump’s immigration proposals during his re-election campaign. He has said he
would tackle the issue in an executive order on day one of his second term.

Weeks before he takes office, Trump’s transition team is now considering how
far to push the scope of such an order, knowing it would almost immediately be
challenged in court, according to a transition official and others familiar with the
matter. The eventual order is expected to focus on changing the requirements
for documents issued by federal agencies that verify citizenship, such as a
passport.

Through an executive order or the agency rule-making process, Trump is also
expected to take steps to deter what Trump allies call “birth tourism,” in which
pregnant women travel to the U.S. to have children, who receive the benefit of
citizenship. One option on the table is to tighten the criteria to qualify for a
tourist visa, according to people familiar with the Trump team’s thinking.
Tourist visas are most often issued for a period of 10 years, though the tourist
can’t stay in the U.S. on each visit for longer than six months.




President-elect Donald Trump has said he would tackle birthright citizenship in an executive order on
day one of his second term. PHOTO: OLIVIER TOURON/AFP/GETTY IMAGES


Karoline Leavitt, a spokeswoman for the Trump transition, said the president-
elect “will use every lever of power to deliver on his promises, and fix our broken
immigration system once and for all.”
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Some on the right have backed Trump’s plans and argued that birthright
citizenship is a misinterpretation of the 14th amendment, which dates back to
the 19th century and in part granted full citizenship to former slaves. They have
also criticized birth tourism. Companies in China have attracted attention in
recent years for advertising such services, and airlines in Asia even started
turning away some pregnant passengers they suspected of traveling to give
birth.

“Because you happen to be in this country when your child is born, is not a
reason for that child to be a U.S. citizen. It’s just silly, and the reliance on it in law
is utterly misplaced,” said Ken Cuccinelli, a senior fellow at the Center for
Renewing America, a pro-Trump think tank, who previously served as deputy
secretary of Homeland Security.

Many constitutional scholars and civil-rights groups have said a change to
birthright citizenship can’t be done through executive action and would require
amending the Constitution—a rare and difficult process. The most recent
amendment was ratified in 1992, more than 200 years after it was first proposed.

Trump on the campaign trail this year offered more details on what executive
action related to birthright citizenship could include compared with his first
term, a change that some backers took as an indication that he is more willing to
act on the issue.

Trump said he would sign a “day one” executive order directing federal agencies
to require a child to have at least one parent be either a U.S. citizen or legal
permanent resident to automatically become a U.S. citizen. It would also stop
agencies from issuing passports, Social Security numbers and other welfare
benefits to children who don’t meet the new requirement for citizenship, the
president-elect’s campaign had said.

“My policy will choke off a major incentive for continued illegal immigration,
deter more migrants from coming, and encourage many of the aliens Joe Biden
has unlawfully let into our country to go back to their home countries,” Trump
said in a campaign video.

But the requirement that at least one parent be a U.S. citizen or legal permanent
resident would also affect children born to parents who immigrated legally
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through visas, excluding them from automatic citizenship.

“The new piece of it is them talking publicly about the mechanism they might try
to use to operationalize this unconstitutional plan,” said Omar Jadwat, director
of the American Civil Liberties Union’s Immigrants’ Rights Project. “They just
can’t do that consistent with the constitution.”

                                                          “Litigation is definitely going to
                                                          follow,” he added.

                                                          The Supreme Court affirmed
                                                          birthright citizenship in its 1898
                                                          ruling in U.S. v. Wong Kim Ark. But
                                                          critics of automatic citizenship
                                                          argue Trump’s proposed
                                                          citizenship restrictions would be
                                                          different from that case, which
                                                          involved a child born to Chinese
                                                          parents who were legal permanent
                                                          residents in the U.S.

                                                          Trump’s allies say a legal fight that
Portrait of Wong Kim Ark, whose case affirmed
                                                          makes its way to the Supreme
birthright citizenship. PHOTO: NATIONAL
ARCHIVES/GETTY IMAGES
                                                          Court is the point of the executive
                                                          order.

“Force the issue and see what happens,” said Mark Krikorian, executive director
for the Center for Immigration Studies, a group favoring immigration
restrictions that was close to Trump’s first administration. Even with the court’s
conservative majority, Krikorian isn’t optimistic about Trump’s chances.

“I think they’ll probably uphold the current interpretation of the 14th
Amendment,” he said. “They’re going to want to start that court fight as soon as
possible to see if they can see it through to the end before the administration
ends,” he said.

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